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                                                                                  May 6, 2022
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION                                        WPB


                               CASE NO. 22-80022-CR-CANNON

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   JOHN PAUL GOSNEY, JR.,

          Defendant.
                                                      /

        ORDER GRANTING MOTION FOR DISCOVERY PROTOCOL GOVERNING
          DISCLOSURE OF MATERIAL SUBJECT TO CLAIMS OF PRIVILEGE

          THIS CAUSE comes before the Court upon the Government’s Partially Opposed Motion

   for Discovery Protocol Governing Disclosure of Material Subject to Claims of Privilege

   (the “Motion”) [ECF No. 177], filed on April 11, 2022. 1   The Court has reviewed the Motion,

   Defendant John Paul Gosney, Jr.’s Response in Opposition [ECF No. 200], the Government’s

   Reply [ECF No. 216], and the full record. Following review, the Motion [ECF No. 177] is

   GRANTED.

                                                ***

          This case involves ten Defendants accused of participating in a large health care fraud

   conspiracy [ECF No. 23]. 2 In 2021, the Government executed several search warrants seizing




   1
     The nine other Defendants in this action express no opposition to the entry of the proposed
   protocol [ECF No. 177 n.2].
   2
     This case is currently set for trial to begin during the two-week period commencing on August
   1, 2022 [see ECF No. 153]. In light of the parties’ agreement regarding the complexity of this
   case and the over 90,000 documents involved, the Court will enter an Order resetting trial to
   January 2023 [ECF No. 146].
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   materials located at a call center location and Defendants’ email communications [ECF No. 177

   pp. 2–3]. 3 The Government intends to use a team of Department of Justice attorneys, walled off

   and separate from the prosecution team, to identify and isolate potentially protected material

   (“PPM”) among the seized material [ECF No. 177]. PPM includes “material that could potentially

   garner protections of the attorney client privilege, work product doctrine, or other legally

   recognized privileges” [ECF No. 177 n.3].

          Specifically, the Government’s proposal would allow the walled-off “filter team” to make

   the first determination as to whether materials are PPM or non-PPM. After that determination is

   made, PPM would be segregated and subject to further review, whereas non-PPM would be turned

   over to the prosecution team and to Defendants [ECF No. 177-1 ¶¶ 3–4]. The review process for

   PPM includes: notice to the ostensible privilege-holder [ECF No. 177-1 ¶¶ 6(a), 7(b)]; a thirty-day

   window for the privilege-holder to review the materials and submit to the filter team any objections

   [ECF No. 177-1 ¶¶ 6(b), 7(c)]; a meet and confer requirement if the filter team receives any

   objections [ECF No. 177-1 ¶¶ 6(f), 7(g)]; and a timeline for the relevant parties to brief any motions

   to compel following the conferral meeting [ECF No. 177-1 ¶¶ 6(g), 7(h)]. Meanwhile, for material

   that the filter team deems non-PPM and shares with the parties, the protocol allows privilege-

   holders to submit written objections after the fact and requires that the filter team “promptly claw

   back” any disputed non-PPM to then be treated as PPM [ECF No. 177-1 ¶ 8]. In the event that

   any members of the prosecution team are inadvertently exposed to PPM, the protocol requires that

   they “immediately cease review of the [PPM] and turn the [PPM] over to the Filter Team for



   3
     The call center contained the office of Keith Fousek, the attorney who formerly represented
   Defendant Timothy Richardson in this action. The Government represents, without opposition
   from Gosney, that “[n]o items were seized from [that] office, and no individual from the
   Government entered [that] office other than to secure and clear the office during the initial sweep”
   [ECF No. 177 n.4].

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   processing,” but does not automatically disqualify such members [ECF No. 177-1 ¶ 12]. The

   protocol expressly recognizes that “[t]he Court retains jurisdiction to resolve any dispute or

   adjudicate any claim of privilege or protection asserted over discovery material produced pursuant

   to the Protocol, including if, and under what circumstances, a party may use the [PPM] at trial”

   [ECF No. 177-1 ¶ 9].




          Now, the Government again seeks approval of a filter protocol for this matter

   [ECF No. 177]. The proposed protocol is substantially similar to the protocol implemented by

   Judge Williams, with a few differences, only two of which are pertinent to the resolution of

   Gosney’s instant objections [compare ECF No. 177-1, with ECF No. 177-2 pp. 63–67]. Unlike

   the previous protocol, the proposed protocol contains a provision prohibiting members of the filter

   team and members of the prosecution team from sharing any first-level supervisors




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   [ECF No. 177-1 ¶ 2]. 4 The proposed protocol also contains language that states that the Court may

   (but does not have to) consider a privilege-holder’s failure to comply with the objection and

   conferral procedures set forth elsewhere in the protocol as a waiver of any relevant privileges

   [ECF No. 177-1 ¶ 6(e)]. Those are the pertinent differences between the previous protocol and the

   proposed protocol for purposes of this Motion [ECF No. 177]. 5

            Like before, Gosney objects to the proposed filter protocol. Gosney emphasizes that he

   continues to fundamentally oppose the use of a filter team consisting of government attorneys

   [ECF No. 200 nn.2–3; ECF No. 200 p. 12]. Similarly, Gosney also opposes allowing the filter

   team to initially identify and then disseminate non-PPM to the prosecution team without first

   giving the defense a 30-day period to challenge such non-PPM designations [ECF No. 200 p. 4].

   Gosney now also requests, in passing, that the proposed protocol’s permissive waiver language be

   removed [ECF No. 200 p. 2; see ECF No. 177-1 ¶ 6(e)]. The Court first addresses the proposed

   protocol as a whole and then discusses Gosney’s specific objections in turn.



           the Court finds the proposed filter protocol to be consistent with the Sixth Amendment and

   with the Federal Rules of Criminal Procedure. 6 The proposed protocol is intended to establish an

   orderly and efficient process by which constitutionally protected material can be identified and

   safeguarded, in a way that adequately respects Defendants’ rights, as the Government reviews tens



   4
       This new term was added pursuant to an agreement between the parties [see ECF No. 177 n.6].
   5
     The proposed protocol also, among other things, provides further detail on how ostensible
   privilege-holders must provide notice, and also increases certain deadlines from five to ten days
   [compare ECF No. 177-1, with ECF No. 177-2 pp. 63–67]. These other changes are not the subject
   of any dispute.
   6
     Gosney has not represented that any issues have arisen from the implementation of that
   substantially similar protocol.

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   of thousands of seized documents. 7 The question before the Court is whether the proposed

   protocol is sufficient for that purpose, and the Court determines that it is. As discussed, the

   protocol contemplates the use of a filter team that is completely walled off from the prosecution

   team, and contains a front-end dispute resolution process for documents deemed PPM and a back-

   end dispute resolution process for documents deemed non-PPM. See supra p. 2. Moreover, the

   proposed protocol does not displace or undermine—but instead expressly acknowledges—the

   Court’s independent ability to respond to inadvertent review problems that may arise throughout

   this proceeding [ECF No. 177-1 ¶ 9]. The Court is mindful of Defendants’ right to a fair trial

   under the Sixth Amendment, and of the possible attorney-client privilege contained therein, but

   finds that the proposed protocol does not improperly intrude upon that right. See United States v.

   Noriega, 917 F.2d 1543, 1551 (11th Cir. 1990) (recognizing attorney-client privilege as an aspect

   of the right to a fair trial that is not absolute); United States v. Melvin, 650 F.2d 641, 644 (5th Cir.

   1981) (acknowledging that not all intrusions into the attorney-client relationship violate the Sixth

   Amendment). The Court now turns to Gosney’s three challenges to the protocol.

       I.      Government Filter Team

            Gosney’s general protestation about the use of a “filter team involving DOJ or other

   government agents” is unavailing [ECF No. 200 p. 12]. Gosney provides no legal authority for

   the proposition that government filter teams are improper per se, and no such authority appears to

   exist. Rather, numerous courts, including the Eleventh Circuit, have approved of the use of filter

   teams involving independent government personnel.            See In re Sealed Search Warrant &

   Application for a Warrant by Tel. or Other Reliable Elec. Means, 11 F.4th 1235, 1239, 1252




   7
    From the email search warrant alone, the Government received approximately 79,000 documents.
   That figure does not include all of the documents seized from the premises.

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   (11th Cir. 2021), petition for cert. filed, 2022 WL 1190230 (U.S. Apr. 18, 2022) (No. 21-1364);

   United States v. Jarman, 847 F.3d 259, 266 (5th Cir. 2017); United States v. Taylor, 764 F. Supp.

   2d 230, 235 (D. Me. 2011); In re Ingram, 915 F. Supp. 2d 761, 765 (E.D. La. 2012). Further, the

   Government has offered assurances that it would maintain a wall of separation between the filter

   team and the prosecution team [ECF No. 216 p. 10]. Thus, “based upon the expectation and

   presumption that the Government’s privilege team and the trial prosecutors will conduct

   themselves with integrity,” the Court does not find the Government’s level of involvement in the

   proposed protocol to be improper. United States v. Grant, No. 04 CR 207BSJ, 2004 WL 1171258,

   at *3 (S.D.N.Y. May 25, 2004).

      II.      Unilateral Determination of Non-PPM

            Gosney also argues that it is improper for the filter team to unilaterally identify and then

   distribute to the prosecution team non-PPM material; the Court disagrees. Numerous courts have

   approved of the same approach to non-PPM. See United States v. Salahaldeen, No. 3:20-CR-839,

   2021 WL 2549197, at *1 (D.N.J. May 7, 2021); United States v. Reifler, No. 1:20-CR-512-1, 2021

   WL 2253134, at *1 (M.D.N.C. June 2, 2021); In re Search Warrants Executed on Apr. 28, 2021,

   No. 21-MC-425 (JPO), 2021 WL 2188150, at *2 (S.D.N.Y. May 28, 2021), appeal withdrawn

   (June 30, 2021). Likewise, Judge Williams found this process for non-PPM to be proper, over the

   same objection Gosney voices now, and the record shows no materialized deficiencies with that

   process as it has unfolded to date [see ECF No. 177-2 p. 133]. This Court, too, finds the process

   for the identification of non-PPM to be satisfactory, particularly in light of the back-end dispute

   resolution processes for instances of disputed non-PPM and inadvertent exposure to PPM,

   see supra p. 2, as well as the Court’s ability to address any such problems as they arise

   [ECF No. 177-1 ¶ 9].




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          As an alternative to the proposed approach to non-PPM, Gosney requests instead that all

   non-PPM—likely amounting to tens of thousands of documents—be turned over to Defendants

   for a thirty-day review period to verify the filter team’s assessment prior to being released to the

   prosecution [ECF No. 200 p. 3]. In support of that request, Gosney points to two fact-specific

   decisions from the Sixth and Fourth Circuits, but neither compels the implementation of Gosney’s

   requested modification in this case. See In re Grand Jury Subpoenas, 454 F.3d 511, 524 (6th Cir.

   2006); In re Search Warrant Issued June 13, 2019, 942 F.3d 159, 177–78 (4th Cir. 2019), as

   amended (Oct. 31, 2019).

          The Sixth Circuit matter involved circumstances not implicated in this case—the

   documents at issue had not yet been seized or reviewed by the Government, and a third party had

   intervened in order to protect its own privileged material. In re Grand Jury Subpoenas, 454 F.3d

   at 513–14. Ultimately, the Sixth Circuit found it appropriate to appoint a Special Master to conduct

   the filtration process specifically with respect to “documents in the third-party subpoena

   recipient’s possession.” Id. at 516, 524. Gosney does not make clear why the same degree of

   protection is required in this case, where the proposed protocol concerns Defendants’ documents

   that were already seized by the Government.

          The Fourth Circuit case, meanwhile, concerned documents seized from a law firm, a

   circumstance that necessarily carried an elevated risk of undue intrusion upon the attorney-client

   privilege. See In re Search Warrant, 942 F.3d at 164–65, 183 (“Federal agents and prosecutors

   rummaging through law firm materials that are protected by attorney-client privilege and the work-

   product doctrine is at odds with the appearance of justice.”). Also, the vast majority of the emails

   seized from the law firm concerned attorneys and clients “who had no connection at all with the

   investigation that led to the search warrant”—and “some of those other clients were being




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   investigated by or prosecuted by the same United States Attorney’s Office for unrelated crimes.”

   See In re Sealed Search Warrant & Application for a Warrant by Tel. or Other Reliable Elec.

   Means, 11 F.4th 1235, 1250 (11th Cir. 2021) (referencing See In re Search Warrant, 942 F.3d at

   166–67). The Fourth Circuit’s conclusion that the filter protocol used was improper and needed

   to be enjoined was motivated in part, by a desire to maintain the status quo until an adversarial

   proceeding could be conducted. See id. at 183 (Rushing, J., concurring) (“The majority suggests

   a procedure by which a magistrate judge could authorize a search but delay ruling on proposed

   review protocols until the court can sua sponte gather the parties for an adversary proceeding.”).

             In the instant case, the material at issue was seized from Defendants’ call center and email

   accounts, and not from any law offices. See supra n.3. Like with the Sixth Circuit decision,

   Gosney does not persuade the Court that the conclusion reached by the Fourth Circuit, in light of

   the “unique facts and circumstances” of the matter before it, necessitates modifying the

   Government’s proposed protocol here. In re Search Warrant, 942 F.3d at 183 (Rushing, J.,

   concurring). Rather, when the Eleventh Circuit discussed both of the described decisions, it

   characterized them as being among “the most exacting” judicial decisions on filter protocols,

   without suggesting that they imposed requirements on filter protocols across the board. In re

   Sealed Search, 11 F.4th at 1251–52.

             For these reasons, the Court determines that Gosney’s proposed modification to the initial

   PPM/non-PPM determination, under the given procedural history and context, and after reviewing

   the relevant authorities on the subject, is not required under the law or circumstances of this case.

      III.      Waiver Provision

             Finally, the Court does not find the waiver language included in the proposed protocol to

   be improper. The provision at issue states that, if the ostensible privilege-holder fails to submit a




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   compliant privilege log when objecting to the production of certain PPM or to satisfy the meet-

   and-confer requirements, “the Court may determine that such inactions constitute waiver of any

   privileges) and/or protection(s) over the [PPM]” [ECF No. 177-1 ¶ 6(e) (emphasis added)]. This

   provision is meant to ensure compliance with the other terms outlined in the protocol and is

   consistent with the well-established rule that “[t]he person invoking [a] privilege . . . bear[s] the

   burden of proving its existence.” In re Grand Jury Investigation, 842 F.2d 1223, 1225 (11th Cir.

   1987). Moreover, this provision speaks in permissive terms—without imposing an automatic

   waiver rule upon would-be privilege-holders [ECF No. 177-1 ¶ 6(e)]. Under these circumstances,

   noting also the undeveloped nature of Gosney’s opposition to it [see ECF No. 200 p. 2], the Court

   finds no reason to exclude it from the approved protocol.

          For these reasons, finding no violation of law in connection with the proposed protocol,

   and finding good cause under the circumstances to adopt the proposed protocol, the Court hereby

   approves the protocol as proposed. It is hereby ORDERED AND ADJUDGED as follows:

      1. Government’s Partially Opposed Motion for Discovery Protocol Governing Disclosure of

          Material Subject to Claims of Privilege (the “Motion”) [ECF No. 177] is GRANTED.

      2. The proposed Discovery Protocol [ECF No. 177-1] will be entered by a separate order.

      3. As in all matters, the Court impresses upon the Government the importance of

          operating at all times at the highest levels of integrity, candor, and professionalism in

          its execution of the approved filter process and in handling this case generally. Any

          breaches of this obligation will be addressed meaningfully by this Court.




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          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 6th day of May 2022.




                                                  _________________________________
                                                  AILEEN M. CANNON
                                                  UNITED STATES DISTRICT JUDGE
    cc:   counsel of record




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